Case 18-12412-NPO      Doc 33   Filed 10/09/18 Entered 10/09/18 12:58:46          Desc Main
                                Document     Page 1 of 2




                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI


   IN RE: BLONDELL P. TUTWILER                                             NO. 18-12412-NPO


                  MOTION FOR BANKRUPTCY RULE 2004 EXAMINATION
          Annie Border-Blackwell, as Executrix of the Estate of Julia Tutwiler Borders,
   Deceased (“Movant”) brings this motion to conduct the Bankruptcy Rule 2004
   Examination of the Debtor and for cause would show as follows:
          1.     Movant is a creditor of the Debtor in this proceeding and desires to
   conduct the Bankruptcy Rule 2004 Examination of the Debtor to examine the Debtor as
   to her acts, conduct, property, assets, liabilities, financial condition, any matters which
   may effect the administration of the Debtor’s estate and the Debtor’s right to a
   discharge.
          2.     Movant requests that the examination take place on October 16, 2018 at a
   place and time as agreed by the parties.
          WHEREFORE, PREMISES CONSIDERED, Annie Border-Blackwell, as Executrix
   of the Estate of Julia Tutwiler Borders, Deceased requests that this Court grant its

   motion for the 2004 Examination of the Debtor and such other relief as is necessary
   under the circumstances.
                 DATED: October 9, 2018

   	
                                               ANNIE BORDER-BLACKWELL, AS
                                               EXECUTRIX OF THE ESTATE OF JULIA
                                               TUTWILER BORDERS, DECEASED


                                              By:    /s/ Jeff Rawlings
                                                     Her Attorney
Case 18-12412-NPO     Doc 33   Filed 10/09/18 Entered 10/09/18 12:58:46       Desc Main
                               Document     Page 2 of 2




                                  CERTIFICATE OF SERVICE
          I served a copy of the foregoing on October 9, 2018 via the ECF notification
   service to Gwendolyn Baptist-Rucker, thebaptistlawfirm18@gmail.com, Jeffrey A.
   Levingston, jleving@bellsouth.net and the Office of the U. S. Trustee,
   USTPRegion05.AB.ECF@usdoj.gov.


                                            /s/ Jeff Rawlings
                                            Jeff D. Rawlings
   Jeff D. Rawlings
   Rawlings & MacInnis, P.A.
   P.O. Box 1789
   Madison, MS 39130-1789
   601-898-1180
   jeff@rawlingsmacinnis.net
   MSB # 4642




                                             2
